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PA CLEAKS OFFICE
United States District Court

District of Massachusetts Soa te OF
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United States of America ° SE
Case No. 1:21-cr-10158-7-MLW-JGD
V.

(7) Thiago De Souza Prado
Defendant,

Defendant’s Re — Affidavit in Support of defendant’s Motion for Pre-trial release on the
grounds of his detention and denial of bail exceeded the limitations of the Due Process
Clause, U.S. Const. Amend. V. in light of United States v Gonzales Claudio, 806 f. 2d. 334
(2"° Cir. 1986).

|, Thiago De Souza Prado, is the affiant in this said affidavit who swears under the penalty
of perjury to the following facts and circumstances:

| swears to God under oath that | believe and feels that | am being punished without a
trial.

| swears to God under oath that | believe and feels that over 14 months in pretrial
detention is a cruel punishment.

| swears to God under oath that | will comply with any condition of release that the court
think is appropriate.

| swears to God under oath that | will never flee this country because this country is my
home, | have nowhere to go even if | want to, and | will never be able to live without my family.

| swears to God under oath that | just want to go back to work and provide for my family.

The above facts are true and are not everything | know about what happened that day
M2
Sworn to under the pains and penalties of perjury on this day of __ 09/98/2022

  

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